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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                :
Ricardo Franks,                                 :
                                                :     Civil Action No.: 1:12-cv-10968-RWZ
                      Plaintiff,                :
       v.                                       :
                                                :
J. A. Cambece Law Office, P.C.; and             :
DOES 1-10, inclusive,                           :
                                                :
                      Defendants.               :
                                                :


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)

       Ricardo Franks (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: October 15, 2012

                                                    Respectfully submitted,

                                                    By: /s/ Sergei Lemberg

                                                    Sergei Lemberg, Esq.
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                                                    Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2012, a true and correct copy of the foregoing Notice
of Withdrawal was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Sergei Lemberg_________
                                                    Sergei Lemberg
